 

Cas§ 1:18-0_\/-01654- .]E.]- Kl\/| Document 11 F1|ed 10/05/18 13age 1 012 l ~ ‘ ' " ‘ ' '

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Joshua A l\/lonlghan Taxpay§r

 

No 118 cv-1654
Plalntlff '

 

- ».‘Tom WolfG@vemor \,   n
Commonwealth of Pennsylvanla 1

‘

 

Motion for 5Sta'tement,on""State" of `Cornpr§h§n's:i“on; otfl?§tition y _ ; f'~

l hereby make a motion 1or a Stat§ment by 1h§ ..lludg§ on the comprehenslbilltyboi‘the
principal P§tition for Extensron filed by th§ Piamtlff Ju|y 31§tresult1ng rn thrs §§s§
The statement and argum§n1s by consumer ag§ny Keli Neary’ s m§l<e§ aliegatlons 1n , -r
this case suggesting “pg 4 last line “ Other Wise unmtelllglble” raise the question 7
"_Couns§l claims the Peti1ion Was 1ncomprehens1ble by Tom Wol1’ s 0111§§ b§y fails t§ '

1 provide §ny sworn s_tatemen1 by either the Department 01 State or any Authonty under '“~,

 

" ' "the D§fendant 10 support counselors 1nter1‘erenc1,
' . lf, Kl\t poisson statement on drsm|ssal is no1Hyperbolethan, th§ l3§titien Would §lso be j;` ',
uninterpretable by Juclg§ Jones as W§ll

' ',l\_lecessar:ily pendingmetion*to~:Strike*l\/lotion10 dismiss. 4 "

»' 3 _;Joshua;/.\§§M_ohighanTa>`.iba"ye`r_' 1

 

 

Joshua A l\`/|onighan Taxpayer

 

 

 

   
 

   

|n the Unl`tecl States llstr ct Co`urt"" , ~ _
for the |\/|ldd|e district of Pehnsy|vanla n

Plamtlff

 

" l V 1 -'_ Judge J°"es h

 

l Tom Wolf Governor ,
Comrhohwea|th of Pennsylvanla

Defendant

Certlflcate of hoh concurrence ` _\ f;i -r …-r ::1:"

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1 dec'|ihe’t`<')`Concur.

 

~ J°Shua~A'M°"i,Qha" Ta_>'<'li)avér?.;i§i ~` _.I '

Case 1:13-@\/-’01654'-3|53'-.}<(:`\/|7 Docu`ment`l`l" Fi`led 10/05/18 .'Pagefz of`2 ,

 

 

 

 

 

 

 

